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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA

                                                CASE NO: 6:09-CV-1300


NELLIE DARLENE ARRINGTON, as Personal
Representative for the Estate of ELLA SUVILLA
CHURCH, deceased,

                Plaintiff,
        vs.

WALGREEN CO.,
an Illinois corporation

                Defendant.
                                                     /



                                FIRST AMENDED COMPLAINT



        COMES NOW the Plaintiff, NELLIE DARLENE ARRINGTON, as Personal

Representative for the Estate of ELLA SUVILLA CHURCH, deceased, pursuant to Fed. R. Civ.

P. 15, by and through undersigned counsel, and files this First Amended Complaint asserting

multiple claims on behalf of the estate of ELLA SUVILLA CHURCH, deceased, against the

Defendant, WALGREEN CO., and for cause of action alleges and avers:



                              JURISDICTIONAL ALLEGATIONS


    1. This is an action stating multiple claims for damages exceeding the sum of $75,000.00,

exclusive of costs, interest, and attorneys' fees.

    2. All conditions precedent have been performed, have occurred or have been waived prior to



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the bringing of this action.

   3. Undersigned counsel has conducted a good faith investigation into this claim.

   4. At all times material, the Defendant, WALGREEN CO., hereinafter WALGREEN, was an

Illinois corporation registered in the state of Florida to do business as a pharmacy and doing business

within the State of Florida, including Orange County, Florida, as a pharmacy.

   5. This Court has jurisdiction pursuant to 28 U.S.C. §1332.



                               GENERAL FACTUAL ALLEGATIONS



   5. On February 18, 2006, ELLA SUVILLA CHURCH, hereinafter ELLA CHURCH, was

   discharged as an in-patient from Lehigh Regional Medical Center. At that time, ELLA

   CHURCH was an elderly person and she suffered from various medical and/or physical

   problems, including dementia and/or other memory and cognition problems related to the aging

   process.

   6. At the time of her discharge from Lehigh Regional Medical Center on February 18, 2006,

   ELLA CHURCH was given a prescription for Bactrim DS/Septra DS.

   7. Following her discharge from Lehigh Regional Medical Center on February 18, 2006, ELLA

   CHURCH took the aforesaid prescription to WALGREEN and the prescription for Bactrim

   DS/Septra DS was filled by WALGREEN, by and through it’s agents and/or employees.

   8. When WALGREEN’s agents and/or employees filled the aforementioned prescription for

   ELLA CHURCH on February 18, 2006, they did so by selling ELLA CHURCH the generic

   replacement for the drug identified on the prescription.

   9. At the time WALGREEN’s agents and/or employees filled the aforementioned prescription



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  for ELLA CHURCH on February 18, 2006, WALGREEN, through it’s agents and/or employees,

  actively knew and possessed the knowledge that ELLA CHURCH was allergic to sulfa based

  drugs and WALGREEN’s agents and/or employees actively knew that the generic replacement

  drug sold to ELLA CHURCH on February 18, 2006 was a sulfa based drug.

  10. ELLA CHURCH, from February 18, 2006, up until her death in May 2006, did not know and

  never learned or knew that the generic replacement sold and given to her by WALGREEN was a

  sulfa based drug and ELLA CHURCH did not know nor did she ever know or learn, from

  February 18, 2006 until her death in May 2006, that this generic drug caused her severe allergic

  reaction and injuries from which she suffered between February 18, 2006 and her death in May

  2006.

  11. On February 18, 2006, WALGREEN, by and through it’s agents and/or employees, owed

  ELLA CHURCH the following duties when WALGREEN, as a pharmacy, acting by and through

  it’s agents and/or employees, knowingly filled the aforementioned prescription for ELLA

  CHURCH, to wit:

          a. WALGREEN, by and through it’s agent and/or employees, had a duty to know and

             did know, on February 18, 2006, that ELLA CHURCH was allergic to sulfa based

             drugs.

          b. WALGREEN, by and through it’s agents and/or employees, had a duty to know and

             did know, on February 18, 2006, that Bactrim DS/Septra DS, and it’s generic

             replacement, was a sulfa based drug.

          c. WALGREEN, by and through it’s agents and/or employees, had a duty to know and

             did know, on February 18, 2006, that it was medically contraindicated for ELLA

             CHURCH to use and ingest a sulfa based drug such as had been prescribed to her,



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          Bactrim DS/Septra DS and/or it’s generic replcement, based on the fact that ELLA

          CHURCH was allergic to sulfa based drugs.

       d. WALGREEN, by and through it’s agents and/or employees, owed a duty to ELLA

          CHURCH on February 18, 2006 to not produce, provide, sell, fill and/or otherwise

          supply a sulfa based drug, such as Bactrim DS/Septra DS or it’s generic replacement,

          to ELLA CHURCH.

       e. WALGREEN, by and through it’s agents and/or employees, owed a duty to ELLA

          CHURCH to know, and did know, on February 18, 2006, that filling, selling,

          providing, producing and/or giving a sulfa based drug to ELLA CHURCH, who had

          a sulfa drug allergy, could result in a serious injury or even death.

       f. WALGREEN, by and through it’s agents and/or employees, owed a duty to ELLA

          CHURCH on February 18, 2006 to recommend an alternative antibiotic and/or

          alternative drug to ELLA CHURCH which was not a sulfa based drug based on the

          patient’s known allergy to sulfa based drugs.

       g. WALGREEN, by and through it’s agents and/or employees, owed a duty to ELLA

          CHURCH on February 18, 2006 to warn and otherwise advise ELLA CHURCH that

          Bactrim DS/Septra DS or it’s generic replacement was a sulfa based drug, that she

          was allergic to sulfa based drugs, and that if she took the Bactrim DS/Septra DS or

          it’s generic replacement, that ELLA CHURCH could suffer serious injury or death

          by taking the said drug and that ELLA CHURCH should not take the said drug.




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                                       COUNT I
                               NEGLIGENCE BY WALGREEN


   12. The Plaintiff’s decedent, ELLA CHURCH, by and through her personal representative,

   NELLIE DARLENE ARRINGTON, realleges and reavers the allegations contained in

   paragraphs 1 through 11 above, as if fully set forth herein, and further alleges:

   13. Defendant, WALGREEN, breached the above-referenced duties owed to ELLA CHURCH as

   outlined above, on February 18, 2006, when WALGREEN, by and through it’s agents and/or

   employees, filled, sold, produced, provided and/or gave a sulfa based drug to ELLA CHURCH

   when it knew that ELLA CHURCH was allergic to a sulfa based drug and WALGREEN was

   negligent thereby.

   14. As a direct and proximate result of the negligence of WALGREEN aforesaid, the Plaintiff’s

   decedent, ELLA CHURCH, suffered severe injuries and damages from an allergic reaction when

   ELLA CHURCH consumed and ingested the sulfa based drug filled, sold, provided, produced

   and/or given to ELLA CHURCH by WALGREEN’s agents and/or employees. Plaintiff,

   NELLIE DARLENE ARRINGTON, as personal representative for the estate of ELLA

   CHURCH, brings claim for the pain and suffering, disability, disfigurement, burns, scarring, loss

   of enjoyment of life, and cost of medical and nursing care suffered by ELLA CHURCH as a

   proximate result of ingesting and taking the aforementioned sulfa based drug sold to her by

   WALGREEN on and after February 18, 2006.

       WHEREFORE, the Plaintiff, NELLIE DARLENE ARRINGTON, as Personal

Representative for the estate of ELLA CHURCH, deceased, sues the Defendant, WALGREEN, and

demands judgment for damages and trial by jury on all issues triable as a matter of right by jury.



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                                      COUNT II
                          RECKLESS DISREGARD BY WALGREEN


15.      ELLA CHURCH, by and through her personal representative, NELLIE DARLENE

ARRINGTON, reallges and reavers the allegations contained in paragraphs 1 through 11 above,

as if fully set forth herein, and further alleges:

16.      When WALGREEN, by and through it’s agents and/or employees, sold the generic form

of a sulfa based drug to ELLA CHURCH on February 18, 2006, WALGREEN did so knowing

that it was selling and giving ELLA CHURCH a sulfa based drug, that ELLA CHURCH was

allergic to sulfa based drugs and that ELLA CHURCH could suffer serious injury or even death

by taking and ingesting this sulfa based drug.

17.      Notwithstanding the knowledge possessed by WALGREEN on February 18, 2006 as

outlined above, WALGREEN knowingly gave and sold this sulfa based drug to ELLA

CHURCH and by doing so acted in reckless disregard for the life and safety of ELLA CHURCH

and ELLA CHURCH was injured and damaged thereby, as more fully outlined in paragraph 14

above.

         WHEREFORE, NELLIE DARLENE ARRINGTON, as personal representative for the

estate of ELLA CHURCH, deceased, sues WALGREEN for these acts and actions of reckless

disregard, and demands judgment for damages and trial by jury on all issues triable as a matter of

right by jury.

                                    COUNT III
                      INTENTIONAL MISCONDUCT BY WALGREEN


18.      ELLA CHURCH, by and through her personal representative, NELLIE DARLENE

ARRINGTON, reallges and reavers the allegations contained in paragraphs 1 through 11 above,


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as if fully set forth herein, and further alleges:

19.     On February 17, 2006, Defendant WALGREEN, by and through it’s agents and/or

employees, knowingly and intentionally sold and gave ELLA CHURCH a drug which it knew

was a sulfa based drug to which ELLA CHURCH was allergic and which drug, when taken and

ingested by ELLA CHURCH, could cause serious injury or even death.

20.     WALGREEN injured and damaged ELLA CHURCH when it knowingly and

intentionally sold and gave ELLA CHURCH a sulfa based drug on February 17, 2006, as more

fully outlined in paragraph 14 above.

        WHEREFORE, NELLIE DARLENE ARRINGTON, as personal representative for the

estate of ELLA CHURCH, deceased, sues WALGREEN for intentional misconduct and

demands judgment for damages and trial by jury on all issues triable as a matter of right by jury.



                                         COUNT IV
                                ACTIVE FRAUD BY WALGREEN


21.     ELLA CHURCH, deceased, by and through her personal representative, NELLIE

DARLENE ARRINGTON, realleges and reavers the allegations contained in paragraphs 1

through 20 above, as if fully set forth herein, and further alleges:

22.     WALGREEN was required pursuant to Florida Law on February 17, 2006 to have a

licensed pharmacist sell, produce, provide, fill and dispense the aforementioned prescription to

ELLA CHURCH.

23.     WALGREEN did, on February 17, 2006, knowingly and actively sell, produce, provide,

fill and dispense the aforementioned prescription to ELLA CHURCH without a licensed

pharmacist being present at the time of said sale to ELLA CHURCH and WALGREEN acted



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fraudulently toward ELLA CHURCH on February 17, 2006 by doing so in violation of Florida

Law and ELLA CHURCH was injured and damaged thereby as more fully outlined in paragraph

14 above.

       WHEREFORE, NELLIE DARLENE ARRINGTON, as personal representative for the

estate of ELLA CHURCH, deceased, sues WALGREEN for fraud and demands judgment for

damages and trial by jury on all issues triable as a matter of right by jury.



DATED this19th day of August, 2009.


                                               s/ Mark V. Morsch
                                               ______________________________________
                                               MARK V. MORSCH, ESQUIRE
                                               Fla. Bar No. 0521876
                                               THE MORSCH LAW GROUP
                                               2425 Lee Road
                                               Winter Park, FL 32789
                                               (407) 645-3232
                                               Counsel for Plaintiff


                                 CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the forgoing has been furnished via U.S. Mail on this 19th
day of August to the following: James A. Coleman, Esq., 612 E. Colonial Drive, Suite 250, Orlando,
FL 32803.

                                               s/ Mark V. Morsch
                                               ______________________________________
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